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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


FRANCIS J. DEVITO, ESQUIRE,                        Civil Action No.
                                                   2:20-cv-07201-BRM-ESK

                          Plaintiff,
                   -v-
                                                   NOTICE OF MOTION
THE HARTFORD INSURANCE,
COMPANY OF THE MIDWEST                             ORAL ARGUMENT
                                                   REQUESTED
                          Defendants.

      PLEASE TAKE NOTICE that on August 17, 2020 at 9:00 a.m., or as soon

thereafter as counsel may be heard, defendant The Hartford Insurance Company of

the Midwest, by its undersigned counsel, shall move before the Honorable Brian R.

Martinotti, U.S.D.J., at the Martin Luther King Building and U.S. Courthouse, 50

Walnut Street, Newark, New Jersey, for an order dismissing the complaint

pursuant to Fed. R. Civ. P. 12(b)(6).

      PLEASE TAKE FURTHER NOTICE that in support of this motion,

defendant shall rely on the brief filed herewith and accompanying exhibits.

      PLEASE TAKE FURTHER NOTICE that a proposed form of order is filed

herewith.


                                            s/ James L. Brochin
                                            James L. Brochin
                                            STEPTOE & JOHNSON LLP
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                                        1114 Avenue of the Americas
                                        New York, New York 10036
                                        Phone: (212) 378-7503
                                        Fax: (212) 506-3950
                                        jbrochin@steptoe.com

                                        Sarah D. Gordon
                                        Anna Stressenger
                                        STEPTOE & JOHNSON LLP
                                        1330 Connecticut Avenue NW
                                        Washington, District of Columbia
                                        20036
                                        Phone: (202) 429-3000
                                        Fax: (202) 429-3902
                                        sgordon@steptoe.com
                                        Pro Hac Vice Forthcoming

                                        Attorneys for Defendant


Dated: July 20, 2020
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                        CERTIFICATION OF SERVICE

      I, James L. Brochin, certify that a copy of this brief and accompanying

exhibits were served electronically by CM/ECF on July 20, 2020 upon:



                                      Francis J. Devito
                                      250 Moonachie Road, Suite 305
                                      Moonachie, NJ 07074
                                      Phone: (201) 487-7575
                                      fdevito@fdevitolaw.com


                                            s/ James L. Brochin
                                            James L. Brochin
